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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  ERIC DOUGLAS, Individually and on Behalf Case No.
  of All Others Similarly Situated,

         Plaintiff,                                 CLASS ACTION COMPLAINT FOR
                                                    VIOLATIONS OF THE FEDERAL
         vs.                                        SECURITIES LAWS

  NORWEGIAN CRUISE LINES, FRANK J.
  DEL RIO, and MARK A. KEMPA,                       JURY TRIAL DEMANDED

         Defendants.




         Plaintiff Eric Douglas (“Plaintiff”), individually and on behalf of all other persons

  similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

  Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

  and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

  the investigation conducted by and through her attorneys, which included, among other things, a

  review of the Defendants’ public documents, conference calls and announcements made by

  Defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and press

  releases published by and regarding Norwegian Cruise Line Holdings Ltd. (“Norwegian” or the

  “Company”), and information readily obtainable on the Internet. Plaintiff believes that

  substantial evidentiary support will exist for the allegations set forth herein after a reasonable

  opportunity for discovery.

                                    NATURE OF THE ACTION

         1.      This is a federal securities class action on behalf of a class consisting of all

  persons and entities other than Defendants who purchased or otherwise acquired the publicly



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  traded securities of Norwegian from February 20, 2020 through March 12, 2020, both dates

  inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

  Defendants’ violations of the federal securities laws and to pursue remedies under Sections 10(b)

  and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5

  promulgated thereunder.

                                   JURISDICTION AND VENUE

         2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by

  the SEC (17 C.F.R. § 240.10b-5).

         3.      This Court has jurisdiction over the subject matter of this action pursuant to

  Section 27 of the Exchange Act (15 U.S.C. §78aa).

         4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

  Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the Company conducts business in this

  judicial district. The Company’s headquarters are located in this judicial district.

         5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to, the United States mails, interstate telephone communications and

  the facilities of the national securities exchange.

                                               PARTIES

         6.      Plaintiff, as set forth in the accompanying certification, incorporated by reference

  herein, purchased Norwegian securities at artificially inflated prices during the Class Period and

  was economically damaged thereby.

         7.      Defendant Norwegian is a global cruise company which operates the Norwegian



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  Cruise Line, Oceania Cruise Line, Oceania Cruises, and Regent Seven Seas Cruises brands. The

  Company is incorporated in Bermuda and its principal executive office is located at 7665

  Corporate Center Drive, Miami, Florida, 33126. The Company’s stock is traded on the New

  York Stock Exchange (“NYSE”) under the ticker symbol “NCLH.”

         8.     Defendant Frank J. Del Rio (“Del Rio”) has served as the Company’s Director,

  President, and Chief Executive Officer (“CEO”) throughout the Class Period.

         9.     Defendant Mark A. Kempa (“Kempa”) has served as the Company’s Executive

  Vice President and Chief Financial Officer (“CFO”) throughout the Class Period.

         10.    Defendants Del Rio and Kempa are collectively referred to herein as the

  “Individual Defendants.”

         11.    Each of the Individual Defendants:

                a.     directly participated in the management of the Company;

                b.     was directly involved in the day-to-day operations of the Company at the

                       highest levels;

                c.     was privy to confidential proprietary information concerning the Company

                       and its business and operations;

                d.     was directly or indirectly involved in drafting, producing, reviewing

                       and/or disseminating the false and misleading statements and information

                       alleged herein;

                e.     was directly or indirectly involved in the oversight or implementation of

                       the Company’s internal controls;

                f.     was aware of or recklessly disregarded the fact that the false and

                       misleading statements were being issued concerning the Company; and/or



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                 g.      approved or ratified these statements in violation of the federal securities

                         laws.

         12.     Norwegian is liable for the acts of the Individual Defendants and its employees

  under the doctrine of respondeat superior and common law principles of agency because all of

  the wrongful acts complained of herein were carried out within the scope of their employment.

         13.     The scienter of the Individual Defendants and other employees and agents of the

  Company is similarly imputed to Norwegian under respondeat superior and agency principles.

         14.     Defendants Norwegian and Individual Defendants are collectively referred to

  herein as “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                             Background

         15.      On August 1, 2017, the Company updated its Code of Ethical Business Conduct

  which is posted to the Company’s website. The Code of Ethical Business Conduct, available

  throughout the Class Period, discussed health and safety standards, stating in relevant part:

         NCLH and its team members are expected to conduct business in compliance with
         applicable environmental, health and safety (“EHS”) laws and regulations.
         NCLH’s EHS programs are designed to ensure the preservation of the
         environment, and safety and security of NCLH’s guests, team members and
         vendors.

         (Emphasis added).

         16.     In December of 2019, a novel coronavirus strain, now called COVID-19, was

  detected in the city of Wuhan in Hubei province, China. Since then, the virus has spread to

  numerous countries.

         17.     The spread of COVID-19 has had a significant impact on the cruise industry, with




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  reports of “canceled trips and half-empty ships.”1

                                  Materially False and Misleading
                             Statements Issued During the Class Period

         18.     On February 20, 2020, the Company filed a Form 8-K with the SEC. Attached to

  the Form 8-K was a press release reporting on the Company’s financial results for the quarter

  and full year ended December 31, 2019. In that press release, Defendants discussed positive

  outlooks for the Company in spite of the COVID-19 outbreak stating, in relevant part:

         •       Company entered year with a record booked position and at higher
         pricing. Despite the current known impact from the COVID-19 coronavirus
         outbreak, as of the week ending February 14, 2020, the Company’s booked
         position remained ahead of prior year and at higher prices on a comparable
         basis, which excludes cruises to Cuba in the prior year and the recent
         redeployment of Norwegian Spirit from Asia in the current year.

                                            *       *      *

         While the effect of these impacts cannot be fully quantified at this time, our
         Company has an exemplary track record of demonstrating its resilience in
         challenging environments and we remain confident in our ability to deliver
         strong financial performance over the long-term.

         (Emphasis added).

         19.     The Company also touted the procedures they had in place to protect its guests

  and crew. In pertinent part, the press release stated:

         The Company has proactively implemented several preventative measures to
         reduce potential exposure and transmission of COVID-19 and to protect the
         health, safety, security and well-being of its guests and crew. These measures
         include enhanced pre-boarding and onboard health protocols that go above and
         beyond standard operating procedures.

         (Emphasis added).

         20.     On February 27, 2020, the Company filed its Form 10-K with the SEC for the

  year ending December 31, 2019 (the “2019 10-K”). The 2019 10-K was signed by Defendants

  1
   https://www.wsj.com/articles/coronavirus-leaves-cruise-industry-with-canceled-trips-and-half-
  empty-ships-11583330402

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  Del Rio and Kempa. Attached to the 2019 10-K were certifications pursuant to the Sarbanes-

  Oxley Act of 2002 (“SOX”) signed by Defendants Del Rio and Kempa attesting to the accuracy

  of financial reporting, the disclosure of any material changes to the Company’s internal controls

  over financial reporting, and the disclosure of all fraud. The 2019 10-K discussed the Company’s

  focus on health and safety of the guests and crew, stating in relevant part:

         We place the utmost importance on the safety of our guests and crew. We
         operate all of our vessels to meet and exceed the requirements of SOLAS and
         International Management Code for the Safe Operation of Ships and for Pollution
         Prevention (“ISM Code”), the international safety standards which govern the
         cruise industry. Crew members are trained in the Company’s stringent safety
         protocols, participating in regular safety trainings, exercises and drills onboard
         every one of our ships to familiarize themselves and become proficient with the
         safety equipment onboard.

                                        *      *       *

         Passenger Well-Being

         In the U.S., we must meet the U.S. Public Health Service’s requirements, which
         include vessel ratings by inspectors from the Vessel Sanitation Program of the
         Centers for Disease Control and Prevention (“CDC”) and the FDA. We rate at the
         top of the range of CDC and FDA scores achieved by the major cruise lines. In
         addition, the cruise industry and the U.S. Public Health Service have agreed on
         regulations for food, water and hygiene, aimed at proactively protecting the health
         of travelers and preventing illness transmission to U.S. ports.

                                        *      *       *

         Epidemics and viral outbreaks could have an adverse effect on our business,
         financial condition and results of operations.

         Public perception about the safety of travel and adverse publicity related to
         passenger or crew illness, such as incidents of viral illnesses, stomach flu or other
         contagious diseases may impact demand for cruises and result in cruise
         cancellations and employee absenteeism. For example, the recent outbreak of the
         COVID-19 coronavirus has resulted in costs and lost revenue related to customer
         compensation, itinerary modifications, travel restrictions and advisories, the
         unavailability of ports and/or destinations, cancellations and redeployments and
         has impacted consumer sentiment regarding cruise travel. The spread of the
         COVID-19 coronavirus, particularly in North America, could exacerbate its effect
         on us. Any future wide-ranging health scares would also likely adversely affect
         our business, financial condition and results of operations.

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         21.     The statements contained in ¶¶ 18-20 were materially false and/or misleading

  because they misrepresented and failed to disclose adverse facts pertaining to the Company’s

  business, operations and prospects, which were known to Defendants or recklessly disregarded

  by them. Specifically, Defendants made false and/or misleading statements and/or failed to

  disclose that: (1) the Company was employing sales tactics of providing customers with

  unproven and/or blatantly false statements about COVID-19 to entice customers to purchase

  cruises, thus endangering the lives of both their customers and crew members; and (2) as a result,

  Defendants’ statements regarding the Company’s business and operations were materially false

  and misleading and/or lacked a reasonable basis at all relevant times.

                                        The Truth Emerges

         22.     On March 11, 2020, Miami New Times reported in the article “Leaked Emails:

  Norwegian Pressures Sales Team to Mislead Potential Customers About Coronavirus” that

  leaked emails from a Norwegian employee showed that the Company directed its sales staff to

  lie to customers regarding COVID-19. The article stated, in pertinent part:

         In the wake of the epidemic, a Norwegian Cruise Line (NCL) employee in South
         Florida tells New Times some managers have asked sales staff to lie to customers
         about COVID-19 to protect the company’s bookings.

                                           *      *       *

         Emails leaked to New Times show that a senior sales manager at NCL’s Miami
         office came up with canned responses for the sales team to use if potential
         customers expressed concerns about COVID-19.

                                           *      *       *

         Some of the lines in the script pressure a fictitious customer to book a cruise
         immediately to avoid paying more later.

         “Mr Becker,” the line reads, “due to the Coronavirus we have cancelled all of our
         Asia cruises on the Norwegian Spirit. This has caused a huge surge in demand for


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         all of our other itineraries. I suggest we secure your reservation today to avoid
         you paying more tomorrow.” (News reports, on the other hand, suggest cruise
         lines are suffering from a spate of canceled trips rather than experiencing high
         demand. NCL’s stock price has fallen more than 35 percent in recent days.)

         Other script lines simply reassure customers not to be afraid.

         “The only thing you need to worry about for your cruise is do you have enough
         sunscreen?” one of the suggested talking points reads.

         Some of the recommended responses are blatantly false. For instance, cruise
         bookers were instructed to tell potential customers that coronavirus is not a
         concern in warm Caribbean climates.

         “The Coronavirus can only survive in cold temperatures, so the Caribbean is a
         fantastic choice for your next cruise,” one talking point reads.

         “Scientists and medical professionals have confirmed that the warm weather of
         the spring will be the end of the Coronavirus,” reads a second.

         Another line says coronavirus “cannot live in the amazingly warm and tropical
         temperatures that your cruise will be sailing to.”

         23.    Further, the Miami New Times article revealed the financial impact the COVID-19

  outbreak was causing on the Company and its employees, stating in part:

         “We are hardly selling anything,” the employee says. “Sales are at serious lows.”

         Members of the sales team lose any commission on a booking if the cruise is
         canceled, according to the employee. They are required to meet daily quotas —
         about 150 calls to potential customers, five hours on the phone, and three to five
         bookings.
         “If you don’t hit quota, you will absolutely be fired,” the employee says. “No
         exceptions for [the] current virus situation. You may be put on a personal
         improvement plan for 30 days, but [that] basically means you’re done.”
         The employee says managers are trying to downplay the disruption in sales “at all
         costs.”

         24.    On this news, the Company’s shares fell $5.47 per share or approximately 26.7%

  to close at $15.03 per share on March 11, 2020, damaging investors.




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         25.    On March 12, 2020, the Washington Post published the article, “Norwegian

  Cruise Line managers urged salespeople to spread falsehoods about coronavirus.” The article

  revealed even more about Norwegian’s sales tactics from leaked internal memoranda including

  dangerous statements such as:

         “Focusing all of your attention is actually illogical, especially when we live in a
         world of daily threats and dangers anyhow,” the manager wrote under the
         headline “The coronavirus will not affect you.” “Fact: Coronavirus in humans is
         an overhyped pandemic scare.”

         26.    The Washington Post article also disclosed Company executive’s reaction to the

  leaked memorandum, including:

         The whistleblower told The Post that company leaders are trying to find out who
         shared the emails. In one email sent Monday evening, after a Miami New Times
         journalist contacted the company, an executive wrote, “One of our own ratted.”

         (Emphasis added).

         27.    On this news, the Company’s shares fell a further $5.38 or approximately 35.8%

  to close at $9.65 on March 12, 2020, further damaging investors.

         28.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

  decline in the market value of the Company’s securities, Plaintiff and other Class members have

  suffered significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

         29.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

  who purchased or otherwise acquired Norwegian securities publicly traded on NYSE during the

  Class Period and who were damaged thereby (the “Class”). Excluded from the Class are

  Defendants, the officers and directors of Norwegian, members of the Individual Defendants’




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  immediate families and their legal representatives, heirs, successors or assigns and any entity in

  which the Individual Defendants have or had a controlling interest.

         30.     The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, Norwegian securities were actively traded on

  NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

  ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

  thousands of members in the proposed Class.

         31.     Plaintiff’s claims are typical of the claims of the members of the Class as all

  members of the Class are similarly affected by defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         32.     Plaintiff will fairly and adequately protect the interests of the members of the

  Class and has retained counsel competent and experienced in class and securities litigation.

  Plaintiff has no interests antagonistic to or in conflict with those of the Class.

         33.     Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

                 a.      whether the Exchange Act was violated by Defendants’ acts as alleged

                         herein;

                 b.      whether statements made by Defendants to the investing public during the

                         Class Period misrepresented material facts about the financial condition

                         and business Norwegian;

                 c.      whether Defendants’ public statements to the investing public during the

                         Class Period omitted material facts necessary to make the statements



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                           made, in light of the circumstances under which they were made, not

                           misleading;

                    d.     whether the Defendants caused the Company to issue false and misleading

                           SEC filings during the Class Period;

                    e.     whether Defendants acted knowingly or recklessly in issuing false and

                           SEC filing

                    f.     whether the prices of Norwegian’s securities during the Class Period were

                           artificially inflated because of the Defendants’ conduct complained of

                           herein; and

                    g.     whether the members of the Class have sustained damages and, if so, what

                           is the proper measure of damages.

          34.       A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

  the damages suffered by individual Class members may be relatively small, the expense and

  burden of individual litigation make it impossible for members of the Class to individually

  redress the wrongs done to them. There will be no difficulty in the management of this action as

  a class action.

          35.       Plaintiff will rely, in part, upon the presumption of reliance established by the

  fraud-on-the-market doctrine in that:

                    a.     Norwegian securities met the requirements for listing, and were listed and

                           actively traded on NYSE, a highly efficient and automated market;

                    b.     As a public issuer, the Company filed periodic public reports with the SEC

                           and NYSE;



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                  c.        The Company regularly communicated with public investors via

                            established market communication mechanisms, including through the

                            regular dissemination of press releases via major newswire services and

                            through other wide-ranging public disclosures, such as communications

                            with the financial press and other similar reporting services; and

                  d.        The Company was followed by a number of securities analysts employed

                            by major brokerage firms who wrote reports that were widely distributed

                            and publicly available.

           36.    Based on the foregoing, the market for Norwegian securities promptly digested

  current information regarding the Company from all publicly available sources and reflected

  such information in the prices of the shares, and Plaintiff and the members of the Class are

  entitled to a presumption of reliance upon the integrity of the market.

           37.    Alternatively, Plaintiff and the members of the Class are entitled to the

  presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

  of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in

  their Class Period statements in violation of a duty to disclose such information as detailed

  above.

                                                 COUNT I

             For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants

           38.    Plaintiff repeats and realleges each and every allegation contained above as if

  fully set forth herein.

           39.    This Count is asserted against Defendants based upon Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.


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         40.      During the Class Period, Defendants, individually and in concert, directly or

  indirectly, disseminated or approved the false statements specified above, which they knew or

  deliberately disregarded were misleading in that they contained misrepresentations and failed to

  disclose material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

         41.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

  employed devices, schemes and artifices to defraud; made untrue statements of material facts or

  omitted to state material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading; or engaged in acts, practices and a

  course of business that operated as a fraud or deceit upon plaintiff and others similarly situated in

  connection with their purchases of Norwegian securities during the Class Period.

         42.     Defendants acted with scienter in that they knew that the public documents and

  statements issued or disseminated in the name of the Company were materially false and

  misleading; knew that such statements or documents would be issued or disseminated to the

  investing public; and knowingly and substantially participated, or acquiesced in the issuance or

  dissemination of such statements or documents as primary violations of the securities laws.

  These defendants by virtue of their receipt of information reflecting the true facts of Norwegian,

  their control over, and/or receipt and/or modification of the Company’s allegedly materially

  misleading statements, and/or their associations with the Company which made them privy to

  confidential proprietary information concerning the Company, participated in the fraudulent

  scheme alleged herein.

         43.      Individual Defendants, who are the senior officers and/or directors of the

  Company, had actual knowledge of the material omissions and/or the falsity of the material



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  statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

  or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

  disclose the true facts in the statements made by them or other Company personnel to members

  of the investing public, including Plaintiff and the Class.

            44.   As a result of the foregoing, the market price of Norwegian securities was

  artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

  Plaintiff and the other members of the Class relied on the statements described above and/or the

  integrity of the market price of Norwegian securities during the Class Period in purchasing

  Norwegian securities at prices that were artificially inflated as a result of Defendants’ false and

  misleading statements.

            45.   Had Plaintiff and the other members of the Class been aware that the market price

  of Norwegian securities had been artificially and falsely inflated by Defendants’ misleading

  statements and by the material adverse information which Defendants did not disclose, they

  would not have purchased Norwegian securities at the artificially inflated prices that they did, or

  at all.

            46.   As a result of the wrongful conduct alleged herein, Plaintiff and other members

  of the Class have suffered damages in an amount to be established at trial.

            47.   By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

  Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

  of the Class for substantial damages which they suffered in connection with their purchase of

  Norwegian securities during the Class Period.




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                                              COUNT II

                          Violations of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

         48.     Plaintiff repeats and realleges each and every allegation contained in the

  foregoing paragraphs as if fully set forth herein.

         49.     During the Class Period, the Individual Defendants participated in the operation

  and management of the Company, and conducted and participated, directly and indirectly, in the

  conduct of the Company’s business affairs. Because of their senior positions, they knew the

  adverse non-public information about Norwegian’s misstatement of revenue and profit and false

  financial statements.

         50.     As officers and/or directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect to the

  Company’s financial condition and results of operations, and to correct promptly any public

  statements issued by the Company which had become materially false or misleading.

         51.      Because of their positions of control and authority as senior officers, the

  Individual Defendants were able to, and did, control the contents of the various reports, press

  releases and public filings which the Company disseminated in the marketplace during the Class

  Period concerning the Company’s results of operations. Throughout the Class Period, the

  Individual Defendants exercised their power and authority to cause the Company to engage in

  the wrongful acts complained of herein. The Individual Defendants therefore, were “controlling

  persons” of the Company within the meaning of Section 20(a) of the Exchange Act. In this

  capacity, they participated in the unlawful conduct alleged which artificially inflated the market

  price of Norwegian securities.




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         52.     By reason of the above conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the Exchange Act for the violations committed by The Company.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for judgment

  and relief as follows:

         (a)     declaring this action to be a proper class action, designating plaintiff as Lead

  Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

  Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

         (b)     awarding damages in favor of plaintiff and the other Class members against all

  defendants, jointly and severally, together with interest thereon;

         (c)     awarding plaintiff and the Class reasonable costs and expenses incurred in this

  action, including counsel fees and expert fees; and

         (d)     awarding plaintiff and other members of the Class such other and further relief as

  the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

         Plaintiff hereby demands a trial by jury.

  Dated: March 12, 2020                         Respectfully submitted,

                                                THE ROSEN LAW FIRM, P.A.

                                                /s/ Laurence Rosen
                                                Laurence Rosen, Esq.
                                                Fla. Bar No. 0182877
                                                Email: lrosen@rosenlegal.com
                                                275 Madison Avenue, 34th Floor
                                                New York, NY 10116
                                                Phone: (212) 686-1060
                                                Fax: (212) 202-3827

                                                Counsel for Plaintiff


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